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                            United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                       M ARSHALL DIVISION


UNITED STATES OF AMERICA                            §
                                                    §
V.                                                  §            CASE NO. 2:06CR21
                                                    §
ERIC WAYNE DORGAN                                   §


       ORDER ADOPTING MAGISTRATE JUDGE’S AMENDED REPORT AND
                     FINDING DEFENDANT GUILTY

        On this day, the Court considered the Amended Findings of Fact and Recommendation of United

States Magistrate Judge Caroline M. Craven regarding Defendants’ plea of guilty to Count 1 of an

Information in violation of Title 21, USC, Section 846. Having conducted a proceeding in the form and

manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court accept the guilty

plea of the Defendant. Objections to the Amended Findings of Fact and Recommendation have been waived

by all parties. The Court is of the opinion that the Amended Findings of Fact and Recommendation should

be accepted.

        It is accordingly ORDERED that the Amended Findings of Fact and Recommendation of the United

States Magistrate Judge, filed April 9, 2007, are hereby ADOPTED.

        It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

GUILTY of Count 1 of the Information in the above-numbered cause.

       SIGNED this 10th day of April, 2007.



                                                __________________________________________
                                                T. JOHN WARD
                                                UNITED STATES DISTRICT JUDGE
